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7    Attorneys for Plaintiff
8
                              UNITED STATES DISTRICT COURT
9                            EASTERN DISTRICT OF CALIFORNIA
10
     Maria Molina,                       )               Case No. 1:17-cv-01158-DAD-JLT
11                                       )
     Plaintiff,                          )               JOINT     STIPULATION               FOR
12
                                         )               VOLUNTARY DISMISSAL                WITH
13          v.                           )               PREJUDICE
                                         )
14
     D. Scott Carruthers, PLC, and SFM-6,)
15   LLC,                                )
                                         )
16
     Defendants.                         )
17
            Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), the parties in this matter, through their
18
     undersigned counsel, stipulate and agree to voluntarily dismiss this matter with prejudice,
19
     with each party to bear its own costs and attorneys’ fees.
20
     Dated: March 21, 2018
21
                                                  Respectfully submitted,
22
     /s/ Elliot Rosenberger                                  /s/ D. Scott Carruthers
23
     Elliot Rosenberger (298837)                             D. Scott Carruthers (68745)
24   Biletsky Rosenberger                                    D. Scott Carruthers, APLC
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28   Attorney for Plaintiff                                  Attorney for Defendants




                                          Stipulation of Dismissal - 1
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1                                CERTIFICATE OF SERVICE
2
            I certify that on March 21, 2018, the foregoing was filed with the Clerk of the U.S.
3

4
     District Court for the Eastern District of California using the CM/ECF system which will

5    send notification of the same to counsel of record as follows:
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10
                                                 s/ Elliot Rosenberger
11                                               Elliot Rosenberger
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                                         Stipulation of Dismissal - 2
